   Case: 1:19-cv-05156 Document #: 31 Filed: 09/25/19 Page 1 of 2 PageID #:2793




                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION
 SEKIGUCHI CO., LTD.,
                                            Case No.: 1:19-cv-05156
       Plaintiff,
                                            Judge Thomas M. Durkin
    v.
                                            Magistrate Judge Sheila Finnegan
 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

              NO.                                    DEFENDANT
               43                                      car16888


DATED: September 25, 2019                           Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    111 West Jackson Boulevard, Suite 1700
                                                    Chicago, Illinois 60604
                                                    Telephone: 312-675-6079
                                                    E-mail: keith@vogtip.com
                                                    ATTORNEY FOR PLAINTIFF




                               CERTIFICATE OF SERVICE
    Case: 1:19-cv-05156 Document #: 31 Filed: 09/25/19 Page 2 of 2 PageID #:2793




       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on September 25, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
